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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

GALILEA, LLC and TAUNIA                           CV 18-131-BLG-SPW-TJC
KITTLER,

                    Plaintiffs,                   ORDER

vs.

PANTAENIUS AMERICAN
LIMITED ANDREA M.
GIACOMAZZA, AGCS MARINE
INSURANCE COMPANY, LIBERTY
MUTUAL INSURANCE COMPANY,
and TORUS INSURANCE
COMPANY,

                    Defendants.

      On August 26, 2019, the Court stayed this action pending the outcome of the

Petition to Vacate the Arbitration Award in the Southern District of New York, and

any subsequent arbitration proceedings that may occur. (Doc. 43.) Presently

before the Court is Defendants’ unopposed motion to lift the stay on the basis that

the proceedings in the Southern District of New York have concluded. (Doc. 48.)

Accordingly, IT IS HEREBY ORDERED that the stay of this action is lifted.

      IT IS ORDERED.

      DATED this 25th day of September, 2020.

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                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge
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